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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )            CR No. 22-15-10
                                   )            Washington, D.C.
       vs.                         )            May 22, 2023
                                   )            10:03 a.m.
THOMAS E. CALDWELL,                )
                                   )
          Defendant.               )
___________________________________)


            TRANSCRIPT OF RULE 29 HEARING PROCEEDINGS
                BEFORE THE HONORABLE AMIT P. MEHTA
                   UNITED STATES DISTRICT JUDGE


APPEARANCES:

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                                                                        2

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Proceedings recorded by mechanical stenography; transcript
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1                             P R O C E E D I N G S

2                COURTROOM DEPUTY:      All rise.    The Honorable

3    Amit P. Mehta presiding.

4                THE COURT:     Good morning, everyone.

5                COURTROOM DEPUTY:      Please be seated, everyone.

6                Good morning, Your Honor.       This is Criminal Case

7    No. 22-15-10, United States of America versus Thomas Edward

8    Caldwell.

9                Kathryn Rakoczy, Jeffrey Nestler, Alexandra

10   Hughes, Troy Edwards, and Louis Manzo for the government.

11               David Fischer for the defense.

12               The defendant is appearing in the courtroom for

13   these proceedings.

14               THE COURT:     Okay.   Good morning again, everyone;

15   counsel, Mr. Caldwell.

16               All right.     So I asked everybody to be here this

17   morning, and thank you for making yourselves available on

18   short notice, because I wanted to discuss the Rule 29s as it

19   relates to the two convictions against Mr. Caldwell.              In my

20   review of the evidence, I had more questions about those

21   convictions than perhaps some of the others.             So that's why

22   I've asked you all to be here this morning, in essence, to

23   pose two questions for your consideration.

24               So let's start with the obstruction count.            And

25   I want to begin with the government.         I know it's your
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                                                                                  4

1    motion, Mr. Fischer, but let's start with the government.

2                Mr. Nestler, I take it you'll be speaking on

3    behalf of the government?

4                MR. NESTLER:    Yes, Your Honor.

5                THE COURT:    All right.    Why don't you come on up.

6                So I think -- look, I think we all agree there

7    obviously needs to be a nexus showing, we agree on that.                We

8    also agree that the nexus showing cannot be met simply by

9    showing foreseeability of a criminal investigation.              There's

10   a distinction between criminal investigation and the

11   official proceeding.

12               So tell me what you think the evidence is that

13   Mr. Caldwell, as of January 14th when he has deleted various

14   Facebook postings and unsent that message to Donovan Crowl,

15   what the evidence would have been that he would have

16   reasonably foreseen a grand jury investigation into either

17   his conduct or the conduct of someone else.

18               MR. NESTLER:    Yes, Your Honor.

19               So there is -- we believe there's more than

20   sufficient evidence to find that Mr. Caldwell reasonably

21   foresaw a grand jury investigation.

22               We can start with his Facebook records which are

23   in evidence.     It's 2001.T.1.    And if you look at page 89,

24   there's a January 8th CNN article that Caldwell shares on

25   the evening of January 10th, and the -- that's in evidence,
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                                                                               5

1    and the subject line of the article on page 89 of that

2    exhibit I just referenced is CNN talking about arrests of

3    people who are involved in the attack on the Capitol.

4                THE COURT:    Keep talking.

5                Sorry, I want to get my computer so I can start

6    pulling some of this evidence up.

7                MR. NESTLER:    We can show it to Your Honor to save

8    time.

9                THE COURT:    Great.   Even better.

10               MR. FISCHER:    If you can show the defense so we

11   can see it.

12               MR. NESTLER:    Mr. Edwards is plugging it in right

13   now.

14               So that is one news article.        There are three and

15   maybe even four we could talk about.

16               The second is The New Yorker article.           And so The

17   New Yorker article was published on the evening -- well,

18   let's go back for a second, Mr. Edwards has this up.              If we

19   could go to page 89 at the bottom.         And you can see here --

20   it's in UTC, Your Honor, so this is the night of January

21   10th, because it's five hours earlier.

22               Mr. Caldwell is sending a CNN article with the

23   subject line, and the CNN article is dated January 8th:

24   "Politics U.S. Capitol Riots Arrest Pelosi's Desk."

25   So this is an article about people being arrested for their
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                                                                                   6

1    involvement on the attack on the Capitol, the Capitol riot

2    arrests.

3                And so Mr. Caldwell is sending this article, of

4    course, therefore, suggesting that he has read the article.

5    And is sending it to somebody else; here, Adrian Grimes.                 So

6    talking about Caldwell's knowledge, he would have had

7    foreseeable knowledge people were being arrested for the

8    role in the riot at the Capitol.

9                Second is The New Yorker article.            The New Yorker

10   article, actually much more concretely, draws Mr. Caldwell

11   into the fold for him and his co-conspirators.              There's a

12   New Yorker article published on January 14th that has

13   photographs and names of Jessica Watkins and Donovan Crowl.

14               And Caldwell accesses that article and starts

15   deleting within about an hour, I think, after first

16   accessing that article, but on the evening of January 14th.

17   And that article is talking about his co-conspirators and

18   what they did at the Capitol by name.

19               THE COURT:    And so the article itself is in the

20   record or is it just a link to the article?

21               MR. NESTLER:    In the government's case-in-chief,

22   there is testimony about the article, that the article -- so

23   the testimony is on page 1626 of the transcripts.              And the

24   testimony is that The New Yorker published an article that

25   identified Watkins and Crowl as having been involved in the
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                                                                             7

1    riot at the Capitol on January 6th.

2                In the government's rebuttal case, the article was

3    introduced into evidence, but the fact of the article was

4    introduced, and it was published on January 14th, was

5    introduced in the government's case-in-chief.

6                The next public article about these conspiracies

7    is the Washington Post's article about Zello.            So The

8    Guardian and The Washington Post published articles about

9    the Zello recording.

10               THE COURT:    Right.

11               MR. NESTLER:    And Watkins shared those with Crowl

12   on January 14th.     And that is the same day that Crowl and

13   Watkins -- sorry, Crowl and Caldwell are together in

14   communication about Crowl and Watkins coming to Caldwell's

15   House to hang out or to hide out.

16               THE COURT:    But do we know whether -- is there any

17   evidence that Mr. Caldwell saw the Washington Post article?

18               MR. NESTLER:    There's a reasonable inference

19   because Mr. Crowl -- that is the same day that Crowl reaches

20   out to Caldwell to come to Caldwell's House.

21               THE COURT:    Right.

22               But there's also the recording that -- I mean,

23   that was introduced in Mr. Caldwell's case in which he says

24   to his wife essentially, you know, they're trying to get

25   away from the media, and so maybe it's a piece of that,
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                                                                             8

1    I guess.    But it's not clear to me that he could -- a jury

2    could reasonably infer that Mr. Caldwell actually saw the

3    piece about Zello.

4                MR. NESTLER:    He could have reasonably inferred

5    that that was why Crowl was coming, because Crowl decided to

6    come to his house that day.       Of all the days, that was the

7    day that Crowl and Watkins decided to come to Caldwell's

8    House.

9                And The New Yorker article very clearly puts

10   Watkins and Crowl at the Capitol and Caldwell's knowledge

11   about that article.

12               THE COURT:    And who did the testimony come through

13   about The New Yorker article?

14               MR. NESTLER:    That was Special Agent Palian.

15               We can pull it up for the Court if Your Honor

16   would like the transcript.

17               THE COURT:    That's okay.     I was trying to do it

18   myself here.

19               MR. NESTLER:    Sure.

20               THE COURT:    And that was early on?

21               Or, let's see, page 14.

22               MR. NESTLER:    We have it as page 1626.

23               THE COURT:    The date of the trial testimony?

24   Okay.

25               I don't have everything in one file.
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                                                                             9

1                Okay.   All right.

2                And then, of course, Caldwell had sent the

3    News2Share video, which showed Watkins and Crowl at the

4    Capitol.

5                And Caldwell had said, it starts out with early

6    happenings on our side of the building and then moves to

7    yours.

8                And so he sent that video of Watkins and Crowl on

9    January 7th, which he later unsent, but, again, going to

10   more evidence that he was aware of video evidence of his

11   co-conspirators being at the Capitol.

12               And that the investigation, and we believe the

13   evidence, and it's a fair inference from the evidence, that

14   given the nature of the investigation here, video evidence

15   of people being unlawfully at the Capitol Grounds is

16   something that Caldwell would have been aware of and would

17   have been aware that the police were using in order to

18   identify and arrest and charge people due to the unique

19   nature of the investigation here, which we can talk about in

20   a second, Your Honor, about how this investigation differs

21   significantly from the investigations in Aguilar and Young.

22               THE COURT:    Okay.

23               MR. NESTLER:    So then we can go to Caldwell -- so

24   those are the pieces in evidence about what Caldwell knew

25   about other arrests and about the investigation into him and
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                                                                                10

1     his co-conspirators.

2                 Then we can go to his own comments with Watkins.

3     So -- and we flagged this in our surreply, Your Honor.              But

4     he and Watkins used words like "swear" and "perjury" when

5     they were communicating, and that's Government's Exhibit

6     9079.

7                 Obviously people swear in front of a court and

8     they commit perjury in front of a judicial proceeding, not

9     to the FBI.    People don't swear to the FBI, they don't

10    commit perjury when talking to the FBI.          So showing an

11    awareness between Caldwell and Watkins that there was an

12    impending or at least a reasonably foreseeable court

13    proceeding coming their way and not just an FBI

14    investigation.

15                Now, Rhodes specifically told co-conspirators that

16    they were at risk of being indicted.         And so he wrote on

17    January 8th, through SoRelle's phone in Government's Exhibit

18    9061, "Do not chat about Oath Keepers members allegedly

19    doing anything at Capitol, go dark on that, do not discuss.

20    That's what I would advise any criminal defense client to do

21    who's at risk of" -- and here's the important point --

22    "being accused and indicted."

23                THE COURT:    So what's the -- I'll preview my

24    Rule 29.    That makes it an easy case against Mr. Rhodes.

25                How does that particular message connect up to
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                                                                               11

1     Mr. Caldwell because that's made on the "Old Leadership"

2     chat, and Mr. Caldwell is not on it?

3                 MR. NESTLER:      Because Jessica Watkins is on the

4     "Old Leadership" chat and she does start deleting --

5     committing her own acts of obstruction after that point.

6     She was not charged with (c)(1) but she does start deleting.

7     And she deletes messages and other data following that.

8                 And Watkins is in touch with Caldwell and Crowl in

9     the following weeks.        So from January 8th and starting on

10    January 14th when she and Crowl show up at Caldwell's house,

11    Watkins is in touch with Caldwell.

12                THE COURT:      This may be an unfair question but why

13    didn't the government charge Ms. Watkins?            I mean, you've

14    just described a fair amount of evidence against

15    Ms. Watkins, her knowledge of what was out there in the

16    world about her.        She obviously knew what she did inside the

17    Capitol Building.        According to the government, she deleted

18    her Signal app, at a minimum, before she left for

19    Mr. Caldwell's farm.

20                I mean, it just seems odd to me that the

21    government is convinced beyond a reasonable doubt that

22    Mr. Caldwell deleted in anticipation of a grand jury but

23    didn't charge Ms. Watkins with a similar offense.

24                MR. NESTLER:      The government believes that

25    Ms. Watkins also deleted evidence to impair its integrity
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                                                                              12

1     before the grand jury.

2                 THE COURT:    But didn't charge her?

3                 MR. NESTLER:    That's accurate.

4                 THE COURT:    Can I ask why?

5                 MR. NESTLER:    Brief indulgence.

6                 THE COURT:    Mr. Fischer is chuckling.        I did that

7     for his benefit.

8                 MR. NESTLER:    It's a fair question to ask,

9     Your Honor.

10                We believe that she would have been fairly

11    charged.    Ms. Watkins had been briefing and discussing with

12    the government; she was one of the first people who were

13    charged.    And if we had to do this over again, she would

14    have been charged with that offense.         We do believe we

15    proved by a preponderance at the sentencing phase that she

16    committed obstruction.      But there's no other principal basis

17    for the lack of charge for Ms. Watkins.

18                THE COURT:    Look, I'm not suggesting that that's a

19    basis to grant a Rule 29.      It just makes for a very odd set

20    of circumstances.

21                So any other evidence?

22                MR. NESTLER:    In terms of specific evidence, we

23    can talk about how this investigation is different and how

24    the government introduced evidence through the FBI agents in

25    its case-in-chief about how this investigation was different
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1     from the other investigations.

2                 So this is an investigation that was incredibly

3     focused on video, identifying individuals who were present

4     at the Capitol, and that was done primarily through video

5     evidence.

6                 THE COURT:    Can I ask you -- sorry to interrupt

7     you.

8                 MR. NESTLER:    Sure.

9                 THE COURT:    I suppose I know what the answer is

10    going to be, but is it the government's theory that

11    Mr. Caldwell was deleting those messages because it was

12    evidence against him or it was evidence against others?

13                MR. NESTLER:    Both.

14                THE COURT:    Both.

15                MR. NESTLER:    And we do think it's fair.

16                And I know that Mr. Fischer made this argument.

17    Mr. Caldwell deleted things that were going to be accessible

18    to the government without having to access his phone.

19                So deleting things off of Facebook and off of

20    platforms that are housed in the cloud that the government

21    can more quickly and easily access before they go away.

22                And so he's trying to protect others, Watkins and

23    Crowl, most notably, and himself in trying to impair the

24    integrity of the evidence for the grand jury investigation.

25                THE COURT:    Okay.
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                                                                              14

1                 MR. NESTLER:    And the point that we get out here

2     is how the (c)(1) charge here is dramatically different from

3     the (c)(2) charges or the 1503 charges in Aguilar and Young.

4     And even the Wellman case that Mr. Fischer cited to

5     yesterday, where the Court did actually affirm the (c)(2)

6     conviction for the defendant there based on a sufficient

7     nexus.

8                 Lying to the FBI to try to convince the FBI

9     someone didn't commit a crime is fundamentally different

10    than destroying or deleting evidence that already existed

11    out in the world to prevent that evidence from being used

12    against you or your co-conspirators in the grand jury or at

13    trial.   They are just fundamentally different acts of

14    obstruction.

15                And we look at what the Seventh Circuit had to say

16    in the two cases I sent to chambers last night, I think it's

17    Matthews and Johnson.      The Seventh Circuit was very clear.

18    When someone destroys evidence, in that case, it was

19    destroying a gun or getting rid of a gun or destroying

20    drugs, sure, the people who were doing that didn't want the

21    police to have access to them as part of the investigation,

22    but they also knew that those were the things that were

23    going to be used against them and their co-conspirators when

24    they were ultimately charged.

25                Here, it was more than reasonably foreseeable to
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1     Caldwell that he was going to be charged, and that his

2     co-conspirators, especially Watkins and Crowl, were going to

3     be charged based on what, at a minimum, was out in The

4     New Yorker article.      And so he knew people were going to be

5     charged and he was deleting evidence so that there wouldn't

6     be evidence to be used against those people and ultimately

7     against him when they were charged by the grand jury.

8                 THE COURT:    I mean, Aguilar is such an interesting

9     case.    I mean, it is a bizarre conclusion, it seems to me,

10    in my humble opinion.      I mean, there you have a federal

11    judge who's accused of lying to an FBI agent who tells him,

12    the federal judge, that there has been, impaneled, a grand

13    jury investigation.

14                And the Supreme Court says that is insufficient

15    evidence to establish that the federal judge knew that his

16    lies could end up before the grand jury.          This is a federal

17    judge.

18                I'm having a hard time squaring that holding with

19    the facts here which require me to infer that Mr. Caldwell

20    would have been aware or reasonably aware of the possibility

21    or probability of a grand jury proceeding because there were

22    media stories about arrests of other people and the possible

23    arrest of people he knew but did not go into the building

24    with and worked with.

25                MR. NESTLER:    But he knew that they were in touch.
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                                                                              16

1     And that gets back to the article that he sent to Crowl on

2     January 7th.    He sends Crowl a video of Crowl and Watkins

3     breaching the building --

4                 THE COURT:    Right.

5                 MR. NESTLER:    -- and says, I was on the west side,

6     you were on the east side.

7                 And so he knows there are communications out there

8     in the cloud that the government can go access to use to

9     prosecute not just him, if we leave him to the side for a

10    minute --

11                THE COURT:    Right.

12                MR. NESTLER:    -- to prosecute Watkins and Crowl,

13    and he wants to prevent the grand jury from having access to

14    that.

15                And that's when we get back to the fundamental

16    difference between lying to the FBI and whether the federal

17    judge would know that the agent would then repeat that lie

18    to the grand jury, which is different than depriving the

19    grand jury of evidence that already existed in the world.

20                THE COURT:    So let me ask, the Wellman decision

21    that Mr. Fischer has sent us says the following:             If the

22    evidence reveals that the defendant acted with the awareness

23    that he was the target of information and the government

24    might be trying to build a case against him, the nexus

25    requirement is satisfied.
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1                 Now, let's leave aside for the moment that that's

2     limited to an investigation against the defendant.             I mean,

3     1512(c)(1) is not limited just to an investigation against

4     the person who destroys the evidence, it could be against

5     someone else that the person is being -- as to whom the

6     evidence is being destroyed for.

7                 But let's just stick with the evidence that, in

8     the government's view, that Mr. Caldwell knew that he -- or

9     had an awareness that he was the target of an investigation

10    and that the government might try and build a case against

11    him, as opposed to Crowl and Watkins.

12                Is it the same evidence?

13                MR. NESTLER:    It's the same evidence for Crowl --

14    for Caldwell knowing about his relationship with the

15    Oath Keepers.

16                So at this time, Watkins and Crowl are identified

17    as being affiliated with the Oath Keepers publicly.

18                And Caldwell knows that Caldwell had many

19    communications with members of the Oath Keepers, including

20    stay at the hotel, procuring the hotel for everybody else,

21    talking about the QRF, communicating with Kelly Meggs, and

22    communicating with other -- and Rhodes previously to that.

23    So there's certainly a reasonable inference for the jury to

24    infer that Caldwell knew that what the Oath Keepers had done

25    that day was going to be under investigation.
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1                 Going back to -- this is also in evidence -- but

2     the stack of Oath Keepers marching up the west side of the

3     Capitol, that video was in heavy circulation, and that fact

4     is in evidence in the news.

5                 And so that certainly would be something that one

6     could infer that Caldwell would have been aware of the

7     Oath Keepers' involvement, and his connection to the

8     Oath Keepers would make him, therefore, a potential target

9     of that investigation.

10                We do believe that sentence from Wellman is

11    accurate, but that is sufficient but not necessary.

12                THE COURT:    You'll forgive me, but I don't know

13    that -- it's not clear to me that a defendant's

14    consciousness of his own guilt or association in this case

15    with others is what the evidence would be that would support

16    knowledge.

17                I mean, I suppose at some level, it's

18    circumstantial evidence.      But the evidence here has to be --

19    and what Wellman says, it makes sense, is that we must be

20    careful to avoid conflating obstruction of an official

21    proceeding with obstruction of a mere criminal investigation

22    that's unconnected with an official proceeding.

23                And it seems to me that the evidence needs to

24    require more than speculation -- more than just someone's

25    concern about their own guilt; that they would reasonably
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                                                                              19

1     suspect there was going to be a grand jury investigation

2     into their conduct.

3                 MR. NESTLER:    We disagree that it needs to be into

4     their own conduct.      That sentence from --

5                 THE COURT:    No, I agree -- I understand that.

6                 MR. NESTLER:    And so if we step back, then

7     Caldwell has to reasonably foresee a grand jury

8     investigation into someone's conduct.         And so we think that

9     is more than sufficient based on the fact that --

10                THE COURT:    But then that requires the jury to

11    have concluded that he was doing those deletions for the

12    benefit of Crowl and Watkins and not necessarily him to

13    support the conviction.

14                MR. NESTLER:    Well, it could have been both.

15                THE COURT:    No, no, I understand.

16                But at a minimum, the evidence would have had to

17    support that intent.

18                MR. NESTLER:    And we believe the evidence does

19    support that intent.

20                He did delete his entire exchange between him and

21    Crowl.   Not only did he delete specific messages between him

22    and Crowl, he deleted his entire exchange between him and

23    Crowl that they had on Facebook, after he had told Crowl

24    about the video that shows Crowl breaching the building with

25    Watkins, those same two people who were publicly identified
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1     in The New Yorker article.

2                 And Ms. Rakoczy reminded me.        So when Watkins and

3     Caldwell are directly talking about "perjury bad" and

4     Watkins -- and Caldwell tells Watkins, "if anyone asks, you

5     know, I'll swear that you were with me," and she's says,

6     "perjury bad," that whole conversation was Watkins telling

7     Caldwell that her face was publicly being associated with

8     dead cops.

9                 THE COURT:    Right.

10                MR. NESTLER:    And so it's an easy inference there.

11                THE COURT:    Do I make anything of the "LOL"?

12                MR. NESTLER:    Nothing of the "LOL."

13                I mean, it's an easy reference there for Watkins

14    telling Caldwell, Watkins saying, I am going to be arrested,

15    charged, indicted.      My face is publicly out there for being

16    associated with dead cops.

17                And so Caldwell's actions after that, even if they

18    were just to support Watkins or just to support Crowl and

19    not himself, which we think they were for all three,

20    Caldwell would reasonably know there was going to be

21    indictments forthcoming.

22                The CNN article, we don't have the whole article

23    in evidence, and I'll point out that we had more substance

24    of it, but at the defense's request, the rest of it was

25    redacted out of the Facebook records, but all that was
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1     admitted into evidence was the headline.

2                 But that being said, Caldwell is obviously reading

3     a CNN article, sharing it with others, about people being

4     arrested for the role of the attack on the Capitol.               It's

5     quite clear, given what Watkins said about dead cops, that

6     there was going to be a grand jury investigation, there were

7     going to be felony charges here, there were obviously heavy

8     rotation in the news about what some of the people had done

9     in terms of violent assaults.          It was clear there was going

10    to be felony charges, and felony charges, of course, require

11    actions of the grand jury.

12                Watkins said that perjury would be bad; perjury

13    means that that was in connection with a court proceeding.

14    She and Caldwell were having that conversation about

15    Watkins' own criminal exposure.

16                THE COURT:    Anything else, Mr. Nestler?

17                MR. NESTLER:    No, Your Honor.

18                THE COURT:    We'll talk about the (c)(2) charge in

19    a moment, but why don't I hear from Mr. Fischer and get his

20    reaction to your points.

21                MR. FISCHER:    And may it please the Court.

22                First of all, Your Honor, I would indicate that

23    your reaction to the Aguilar case was exactly my reaction;

24    that in that particular case, you have a federal judge

25    who's -- part of his job description is to oversee the grand
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1     jury process and has an expertise in the grand jury, as

2     compared to Mr. Caldwell, where there's no evidence that he

3     has any particular expertise in the grand jury or how that

4     would operate vis-a-vis an investigation.

5                 THE COURT:    A bunch of these cases that you have

6     sent me, for example, involve police officers, and part of

7     the evidence in those cases sometimes is that the officer

8     has testified before a grand jury a dozen times, and

9     obviously there's nothing like that here.

10                MR. FISCHER:    Exactly.

11                Just a few points I would make, Your Honor.             First

12    of all, the indictment in Count 13 alleges, at paragraph

13    167, that, "Between January 6th, 2021, and January 19th of

14    2021, Caldwell deleted photographs from his Facebook account

15    that documented his participation in the attack on the

16    Capitol on January 6th."      So that was the meat of the

17    evidence, tampering charge, were the photographs that,

18    according to the indictment, documented "his" participation

19    in the attack on the Capitol.

20                Your Honor, Mr. Caldwell was not even a suspect by

21    the FBI until after the deletions took place.             It was

22    after -- Crowl and Watkins were at his place when --

23                THE COURT:    No, I know.     I'm aware of the sequence

24    of events.

25                MR. FISCHER:    And, Your Honor, as to the video,
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1     which turned out to be a link to an open-source news site,

2     that particular video or link was not even known the content

3     of it until a year after Mr. Caldwell had been arrested.                  So

4     the government didn't even know per the testimony of -- if

5     the Court recalls, there was a letter -- or an email from

6     Ms. Rakoczy that -- the email did not come into evidence but

7     the Court allowed me to talk about the contents and had the

8     agent talk about how the FBI and the government did not have

9     knowledge of what the content of the video, which turned out

10    to be a link, was until a year after Mr. Caldwell was

11    arrested and had already been charged with that through

12    multiple prior indictments.

13                So, Your Honor, the Wellman case basically says

14    Mr. Caldwell, as far as the photographs, he would have had

15    to have been on notice that he was a target and that the

16    government was building a case, as far as the photographs

17    that he allegedly obstructed.          And the government's

18    presented absolutely no evidence that Mr. Caldwell was under

19    the impression that he was a target of an FBI investigation

20    or that the government was building a case against him

21    because, quite frankly, the FBI did not start building a

22    case against him until three days after the deletions took

23    place.

24                As to some of -- I would also point out and remind

25    the Court that there was overwhelming evidence that was
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1     presented through defense exhibits that Mr. Caldwell had

2     multiple copies of the same photographs on his phone.

3                 THE COURT:    Yeah, I want to --

4                 MR. FISCHER:    I'll move along.

5                 THE COURT:    No, no, you don't have to move along.

6                 I want to just avoid for a moment -- we can talk

7     about it, but just in terms of the issues of intent and some

8     of the circumstantial evidence you're talking about, what's

9     your reaction to the government's alternative theory, which

10    is that Mr. Caldwell, based upon media stories, would have

11    been aware both that people were being arrested for the

12    events of January 6th, he would have been aware that

13    Ms. Watkins and Mr. Crowl were specifically identified, and,

14    therefore, likely to be the subject of an investigation and

15    possibly an arrest, and, therefore, on the very day that

16    they're coming to his farm for assistance, he is deleting

17    evidence that would have implicated them?

18                MR. FISCHER:    Well, Your Honor, what I would say

19    is this.    I believe the cases, I think, have drawn a bright

20    line between just general awareness of someone could be in

21    trouble and specific awareness that you're under

22    investigation or someone's under investigation.            Just

23    because someone appears in a news meeting -- I would point

24    out The New Yorker article, as Mr. Nestler indicated, was

25    not in the government's case, it was in rebuttal.             But just
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1     the fact that someone is noted in a news article does not

2     necessarily mean they are going to be actually investigated

3     or even charged.

4                 THE COURT:    I think we would all agree with that

5     as a general proposition.      I think the question is, is this

6     different, is this case different because it was clear from

7     the outset that the FBI and the Federal Government would be

8     arresting and charging people who participated in the events

9     of that day.

10                So you have news stories about somebody like

11    Ms. Watkins, video of her and Mr. Crowl going into the

12    building, I don't have what other color there was in the

13    articles about their conduct.          It's not -- why isn't it

14    unreasonable for someone to read such an article and think,

15    one, that person is going to be the target of an

16    investigation, and, two, the government is likely to try and

17    build a case against this person, and I've got evidence on

18    my phone and in my Facebook account that could implicate

19    those people?

20                MR. FISCHER:    Well, Your Honor, I would say that

21    having knowledge that somebody else has been outed in a

22    newspaper article, that's certainly -- obviously that could

23    suggest to somebody that -- I would say this.              I would say

24    that, as far as Mr. Caldwell's intent, from his point of

25    view, there's no evidence that he thought he was a subject
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1     or he was a target.      So even if he thought that other

2     individuals, potentially there could be some investigation

3     into them, although I don't believe there's enough to show

4     that there was even enough to show that he had knowledge

5     that an investigation would take place, that doesn't get the

6     government to the grand jury.          That's a different leap that

7     has to be made.

8                 And, in fact, when the conduct goes to a third

9     party, I think the amount of evidence has to increase,

10    because obviously if you're doing it and you think you're a

11    target and you're under investigation, that's self-serving,

12    you can do that to save your own skin.            But when you're

13    talking about somebody else, the standard would have to

14    be -- there would have to be more evidence because there are

15    all types of reasons why somebody would want to disassociate

16    themselves from somebody who's outed in a newspaper article.

17    It happens all the time; we're in D.C.            Whenever a

18    politician gets in trouble, their best friends go fleeing

19    away from them.     That doesn't mean that they're somehow

20    criminally connected to them, that means there's a

21    disassociation that's taking place that has nothing to do

22    with the grand jury.

23                So there are just too many -- there's too much of

24    a logical leap that has to be made to get Mr. Caldwell from

25    seeing that a couple of his tangential friends were outed in
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1     a New Yorker article, which, by the way, says nothing about

2     they're going to be arrested, says nothing about they're

3     being investigated.      I think that there's too much of a leap

4     there to get to a grand jury, especially with Aguilar,

5     because as the Court pointed out, in Aguilar, you have a

6     federal judge who's sitting with an FBI agent, and even the

7     Supreme Court acknowledges that the information could have

8     made its way or possibly made its way to a grand jury.              But

9     Aguilar did not specifically -- Judge Aguilar did not know

10    that it would get there, he was not on notice, so I think

11    that's the problem.

12                Your Honor, the CNN article mentioned by

13    Mr. Nestler, it does not indicate -- it doesn't have a copy

14    of the article, it doesn't indicate what the arrests were

15    for.   If the arrests were for trespassing, trespassing is a

16    misdemeanor and not within the province of the grand jury.

17    And also it doesn't -- there's no evidence that it mentioned

18    Mr. Caldwell or anybody associated with Mr. Caldwell.              And

19    as far as, like, The Guardian and Washington Post, there's

20    no evidence Mr. Caldwell saw those particle articles, so

21    that could not have not gone towards foreseeability.

22                Your Honor, the --

23                THE COURT:    Do we know -- I'm sorry to interrupt

24    you, Mr. Fischer, but you've raised a point that I hadn't

25    really thought about it and that is, and I'll ask -- I
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1     suppose the government may be the right party to ask this

2     of, but do we know if anyone was arrested and charged with

3     felony conduct within the weeks following January 6th?

4                 MR. FISCHER:    I would have to --

5                 THE COURT:    And whether that was in the media,

6     that it was actual felony arrests?

7                 MR. FISCHER:    I would have to defer to the

8     government.    My understanding was Mr. Caldwell was the first

9     defendant that was charged with the major felonies, he was

10    the first conspiracy that was charged.            If the government

11    has anything --

12                THE COURT:    Does the government know?

13                MR. NESTLER:    The grand jury was convened on

14    January 8, and issued indictments, we believe, on January

15    11th.

16                THE COURT:    Okay.

17                I mean -- okay.

18                I was just curious.        But I don't know that that's

19    in evidence, but I was just curious.

20                MR. FISCHER:    And I guess that begs the question.

21    If I could ask Mr. Nestler:       Did those documents get

22    publicized before Mr. Caldwell's arrest?

23                MR. NESTLER:    The answer is yes.            And I think that

24    the evidence already is here from the FBI agent who said

25    there was a massive amount of publicity, and they testified,
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1     Special Agent Palian, more publicity about this

2     investigation and what the FBI was doing here than almost

3     any other case anyone's ever seen.

4                 THE COURT:    Fair enough.

5                 I was just curious.        I only raised the question

6     because Mr. Fischer raised the fact that mere trespass or a

7     trespass in this context would have been a misdemeanor only.

8                 MR. FISCHER:    Well, I would indicate the

9     government's citation to Agent Palian's.            Agent Palian's

10    testimony was that after Mr. Caldwell was arrested, there

11    was a massive amount of publicity.

12                THE COURT:    He also testified about publicity

13    about the investigation before Mr. Caldwell -- but in any

14    event, I get your point.

15                MR. FISCHER:    Your Honor, I called it the B movie

16    line where Mr. Caldwell says something to the effect, you

17    know, you were with me and I'll swear to it.              In the context

18    of the messages, contextually, Ms. Watkins is complaining

19    because there's something on the Internet that associates

20    her face with dead police officers.

21                And, in fact, Mr. Caldwell, at one point, and I

22    would point out that the government cuts off the line and it

23    says -- okay, so Mr. Caldwell says -- and this is at

24    192.T.1623, "If any shit should ever come down, you were

25    with me all the time and I'll swear to it."
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1                 And then Ms. Watkins responds there's no --

2     "There's too much evidence contrary, perjury bad LOL.

3     I won't worry then."

4                 So she basically says, I won't worry about what's

5     going on.    So I think that sort of mitigates and sort of

6     puts the statements in context.

7                 And also, Your Honor, if you look at -- if you

8     want to read Mr. Caldwell's statement literally, what he's

9     literally saying -- and I personally -- I think it looks

10    like a joke to me, it looks like something, again, from a

11    grade B movie from the 1940s, as Mr. Caldwell indicated.

12    But if you read it literally, what he's saying is, hey, if

13    something happens, I'm innocent, I'll tell them you were

14    with me.    That would be a literal reading of it.

15                THE COURT:    Could I ask you a question?

16                If I conclude that there's sufficient evidence

17    that -- that there's sufficient evidence -- the government

18    introduced sufficient evidence at the end of its

19    case-in-chief, do you then automatically lose at the end of

20    your case and the close of the evidence because Mr. Caldwell

21    testified and the grand jury could not credit his testimony?

22                MR. FISCHER:    No, Your Honor, because, first of

23    all, you can put his testimony to the side, number one,

24    because you can look at the physical evidence that was

25    introduced.
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1                 And the physical evidence that was unrebutted by

2     the government was that Mr. Caldwell had in his possession

3     when he was arrested by the FBI three extra copies of every

4     photograph he allegedly was trying to keep from the grand

5     jury.   So he had three extra copies of the same photos.

6                 THE COURT:    So how do I, though, you've cited a

7     case -- I mean, it's sort of interesting that an appellate

8     court would make this determination, but I think it's an

9     intermediate appellate court decision from Florida in which

10    a Court said, based upon this evidence, the jury couldn't

11    have formed the requisite -- couldn't have concluded intent

12    beyond a reasonable doubt.

13                But it just seems to me that that's a

14    quintessential jury question, right?         I mean, you've argued,

15    look, he didn't intend to obstruct because he kept all the

16    photographs.    The government says he did intend to obstruct

17    because he deleted the stuff that was really important.

18    I'm not sure that that's my role at that point to say, you

19    know what, that's not enough evidence of intent.             I mean,

20    I understand why you're arguing it but it just seems to me

21    to not be something a judge should be doing after the jury

22    has made a determination.

23                MR. FISCHER:    Well, I don't believe Mr. Caldwell's

24    testimony really got heavily into the concept of

25    "corruptly," or the nexus, or a grand jury.             So I don't
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1     think he really testified specifically as to those issues to

2     give a grand jury the ability to disbelieve statements that

3     he made.    I think he generally just indicated that he wasn't

4     trying to destroy evidence.

5                 I think that's different than a grand jury making

6     a finding that --

7                 THE COURT:    You mean the jury?

8                 MR. FISCHER:    I'm sorry, the jury making a finding

9     that, oh, there was evidence of tampering and then it was

10    designed to go to before a grand jury.          So I don't think he

11    testified on that particular issue.

12                But I would say, Your Honor, I do believe it is a

13    legal issue, I don't believe it is a factual issue, because

14    the issue is whether he has evidence that could impair its

15    availability for the grand jury proceeding; in other words,

16    if the grand jury asks for it, he can produce it.

17                In fact, he has the originals on his phone, he has

18    the original photos on his phone.        What would have been

19    taken off was from Facebook.

20                And I would point out, Your Honor, also as to the

21    issue of intent, keep in mind that, you know, the government

22    indicates, yes, Mr. Caldwell deleted this entire thread,

23    but, as the testimony from the Meta or "Mehta" -- the

24    Facebook.

25                THE COURT:    It's not my company.
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1                 MR. FISCHER:    So the testimony from Mr. Harmon was

2     that a deletion of a Facebook thread is one swipe.              You one

3     swipe of the button and, ergo, 60 or whatever 90 pages of

4     Facebook messages get deleted.         So it's one swipe.       And

5     there were a ton of things inside those records that have

6     nothing to do with January 6th.

7                 Mr. Caldwell's wife's medical condition was

8     discussed in some of those -- in part of that thread.               And

9     to suggest that a finder of fact could divine Mr. Caldwell's

10    intent that the purpose of deleting whatever it was, 60-plus

11    pages of Facebook records, I think it was 90 messages -- or

12    maybe it was 30 pages, 90 messages.

13                THE COURT:    I guess I just don't know that it's a

14    defense, except on the issue of intent, to say, look, sure

15    the grand jury would have been deprived of this evidence in

16    a particular format, but here it is, it's available on a

17    different -- in another format; in other words, you know,

18    the fact that the photographs, for example, are on his

19    phone, I'm not sure absolves him of deleting other evidence

20    that's in a different medium.

21                MR. FISCHER:    Well, it goes towards his intent.

22                THE COURT:    Right.

23                MR. FISCHER:    And if his intent is -- for example,

24    the Court asked the question, okay, let's assume that we can

25    say that Mr. Caldwell was -- he reads The New Yorker
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                                                                               34

1     article -- or he didn't read a New Yorker article in the

2     government's case.        But let's assume he has some type of

3     knowledge that Watkins and Crowl are a subject of a national

4     news piece.    Fine.      Wouldn't it be just as likely that his

5     intent in taking down Facebook messages between himself and

6     Crowl, wouldn't it be just as likely that he -- if he thinks

7     these folks are in trouble but he's not in trouble, he does

8     it for the purpose of making sure the FBI doesn't come in

9     and talk to him?        Now, that wouldn't be trying to thwart a

10    grand jury, that would be trying to keep yourself out of an

11    entanglement with other people when you did not commit a

12    crime.

13                THE COURT:      Right.

14                MR. FISCHER:      So it's just getting to that grand

15    jury is the problem.

16                And I would submit, as far as the multiple copies,

17    it shows -- the crime itself charged is impairing -- is

18    impairing the integrity and availability of the photographs

19    for use in the grand jury investigation.           And how do you

20    prove, as a matter of law, beyond a reasonable doubt, his

21    intent was to keep it from the -- to keep its availability

22    from the grand jury when he had it available?             He absolutely

23    had it available.

24                And the integrity had not been messed with because

25    he had the original copy.        So it's the availability for use,
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1     that's the issue, that's what he's charged with, not some

2     general, I'm destroying evidence to keep the FBI off my

3     trail.

4                 I'd also point out, Your Honor, I cited the

5     Weisinger case.     Now, it's at the trial-court level out of

6     the Western District of Virginia.        But in the Weisinger

7     case, Mr. Weisinger had given fentanyl to a woman in a hotel

8     room who ended up passing away because of an overdose.              He

9     then cleaned up the entire room, flushed the drugs down the

10    toilet, completely cleaned up the crime scene.

11                Now, in that case if anybody was on notice that he

12    was the subject of an investigation, that person would have

13    been on notice.     He had made text messages to other people;

14    there were witnesses that testified that he admitted to

15    cleaning up the crime scene.

16                But the Court said -- they were citing the Young

17    case out of the Fourth Circuit -- that doesn't get you to a

18    grand jury.    It may get you to -- it's obvious that you're

19    trying to stop yourself from being -- from hiding and

20    keeping yourself potentially from -- or you're doing it for

21    the purpose of hindering an investigation, but that doesn't

22    get you to the next step, and I think that's the problem

23    that the government has.

24                The Court's indulgence.

25                Your Honor, in virtually every case the government
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1     cites, there's -- and I think in every case they cite,

2     there's specific notice that the defendant is aware that

3     there's -- that there are -- that his conduct will actually

4     affect a court proceeding.

5                 So if somebody -- if the police are surrounding

6     your house, like they cited a case where the police were

7     surrounding a house, and they're knocking on the door, we

8     have a search warrant.      And then the evidence -- the

9     defendant goes and flushes the drugs down the toilet or puts

10    the computer in the bathtub.

11                In those types of cases, the defendant's on notice

12    that, first of all, there's an investigation because they're

13    at his door and because there's a search warrant seeking

14    evidence, the defendant is on notice that what they're doing

15    is they're seeking the evidence that's going to be used in

16    trial or in an official proceeding.         That didn't happen in

17    this case.

18                THE COURT:    Right.   Okay.

19                MR. FISCHER:    Thank you, Your Honor.

20                THE COURT:    Mr. Fischer, thank you.

21                I'll give a couple minutes just on this topic and

22    then we'll turn to the 1512(c)(2) issue.

23                MR. NESTLER:    Yes, Your Honor.      Thank you.

24                I think it's telling that what Mr. Fischer told

25    Your Honor repeatedly was a reasonable inference to draw
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1     from the evidence.      Isn't it reasonable or isn't it

2     plausible or isn't it more likely that Mr. Caldwell was

3     intending to do X, Y, or Z when he did what he did.             That is

4     not the procedural posture we're in.         All reasonable

5     inferences must be drawn in the government's favor.             If any

6     juror could find the facts to support the government's

7     theory here, the Court must deny the Rule 29 motion.

8                 And so looking to, well, Mr. Caldwell might have

9     meant those messages literally or he might have been kidding

10    or that article about CNN might have been about misdemeanor

11    arrests, reasonable inferences means that that article from

12    CNN was about felony arrests because it's a reasonable

13    inference that it was about felony arrests, and so we need

14    to think about and make sure we're aware of the proper

15    standard here.

16                The second point here is about dual motives.            It's

17    certainly possible that Caldwell was trying to prevent the

18    FBI from locating him, knowing who he was and talking to

19    him.   That's fine.     The whole point here is that a person,

20    and the jury instructions bear this out, can act with dual

21    motives.    If he is trying to impair the grand jury's

22    investigation and the FBI's investigation, the government

23    wins and the Rule 29 motion ought to be denied.

24                On a factual point that Mr. Fischer pointed out,

25    Mr. Caldwell did not save everything, he deleted his
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1     messages with Crowl, specific messages and then his entire

2     thread.    He also deleted over 100 messages with other

3     people, including about procuring a boat to transport the

4     weapons across the Potomac.        He deleted those messages.           He

5     didn't save them, they weren't still found later.             He

6     deletes those messages.

7                 THE COURT:    But he's not charged with deleting

8     those messages.

9                 MR. NESTLER:    He's not charged with deleting those

10    messages, but that is certainly evidence about his intent.

11    And we're talking about the evidence the jury could use --

12                THE COURT:    Right.

13                MR. NESTLER:    -- about his intent.        That's very

14    compelling evidence that he intended for the grand jury to

15    not have access to those kinds of messages.

16                THE COURT:    And where's the evidence about that --

17    about his deletion of other messages that are relevant to

18    the events?

19                MR. NESTLER:    We know from the Facebook records

20    from Crowl that Crowl and Caldwell had communications.

21                So let me back up for a second.

22                We've got Facebook returns from Caldwell and from

23    Crowl.    And it's 2001.T.1, it's page 174 that I'll get to in

24    a second.

25                But anyway, we've got Facebook records introduced
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1     into evidence from Caldwell and from Crowl.             The Caldwell

2     records don't show any messages with Crowl.             But the Crowl

3     messages do show communications with Caldwell, but not all

4     of them, because some of them were deleted, and so you can

5     see in there that the messages were -- some of the messages

6     between Caldwell --

7                 THE COURT:    I guess -- you'll forgive me.

8     I thought you were -- I was asking about the -- you

9     referenced, for example, the deletion of messages concerning

10    procuring a boat.

11                MR. NESTLER:    Sure.

12                So he had a message and that's page 174.

13                THE COURT:    Those were text messages, right?

14                MR. NESTLER:    Those were Facebook messages.

15                THE COURT:    Facebook messages.      Okay.

16                MR. NESTLER:    Well, sorry.

17                He sent a lot of messages about procuring a boat,

18    some on text that were recovered from his phone, some via

19    Facebook.

20                And so we have up on the screen here, page 174

21    from Exhibit 2001.T.1 and we know that Caldwell was sent --

22    sorry, it's a reasonable inference that Caldwell was sending

23    a message about a boat related to the QRF because he sends

24    the message on January 2nd, he deletes it on the night of

25    January 14th, and we don't know where it is, it's gone.
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1                 But Matt Combs responds to him, that initial

2     message.    "Damn I wish I did LOL.      I'd be your captain for

3     sure.   I don't know anybody who has a boat.            Smoot has a

4     bass boat, it won't go on the Potomac, though."

5                 Again, a reasonable inference, and the jury had

6     this evidence in front of then, is that Caldwell deleted

7     these messages, and they are gone, he didn't save a copy, so

8     that the grand jury would not have access to these messages,

9     so the grand jury would not know about Caldwell and his own

10    actions.

11                THE COURT:    Okay.

12                MR. NESTLER:    That gets back to one of the points

13    I just wanted to highlight for Your Honor.

14                The Aguilar case and Young, those were not --

15    those cases did not have the same level of publicity as this

16    case.   Those cases the grand jury generally worked in

17    secret, whether the FBI agent told the federal judge it was

18    a grand jury who was investigating is a little bit beside

19    the point.

20                Here we're talking about some very large scale

21    open case, where the primary evidence, especially at the

22    early stages when Caldwell would have been aware of this,

23    were the FBI identifying people based on photos and videos

24    and using that to track down suspects to arrest them and

25    charge them with felonies.
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1                 And so this investigation is just different from

2     those kinds of investigations.         In that sense, it's much

3     more like the Seventh Circuit cases where there are people

4     who are aware there's an impending investigation.              And this

5     topic didn't come up yet, but 1512(f) talks about how the

6     grand jury need not have even been impaneled, it only has to

7     be reasonably foreseeable.

8                 THE COURT:    Right.

9                 MR. NESTLER:    And so the fact that there was a

10    grand jury impaneled here -- but Caldwell doesn't need to

11    know a grand jury was impaneled.         He doesn't need to know

12    indictments were issued.      It has to be reasonably

13    foreseeable to him that indictments would be issued and that

14    the grand jury would be investigating.

15                And in this case, it should have been clear, and

16    it was -- we think the evidence certainly supports this

17    theory -- to Caldwell that the grand jury was investigating

18    Watkins and Crowl, their faces were out there in the news,

19    Watkins knew she was being investigated, she thought perjury

20    was bad, and her face was being associated with a dead cop.

21                When Caldwell deleted items from his Facebook

22    account, which he would have known would have been easier

23    for the FBI to access than going out and getting his phone

24    and then presenting that evidence to the grand jury, there's

25    a reasonable inference, and drawing all inferences in our
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1     favor, that he did it to impair the grand jury from

2     accessing that evidence.

3                 THE COURT:    Okay.   Thank you.

4                 MR. FISCHER:    Your Honor, may I make a couple

5     points?

6                 THE COURT:    Sure.

7                 MR. FISCHER:    First of all, respectfully,

8     Mr. Nestler talks about the level of publicity as compared

9     to Aguilar.

10                So two points:    Number one, there really wasn't

11    evidence in the record about the level of -- unprecedented

12    level of publicity that Mr. Nestler is talking about.

13                I'll be the first to tell you, I certainly follow

14    the news, not everybody does, but I follow the news, and I

15    would agree that outside of the record, there was publicity,

16    and there was a lot of publicity.

17                But in the record, there was not evidence about

18    massive publicity.      What I recall was Agent Palian, and

19    I think the government cited it in its last filing, that

20    Agent Palian indicated that after Mr. Caldwell's arrest,

21    there was a lot of publicity.          But the deletions occurred

22    before he was arrested.

23                And I think they also cited Agent Moore, and

24    Agent Moore had indicated something to the effect that there

25    had been some arrests made but didn't specify what they were
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1     for or go into any detail.      So the record is devoid of this

2     massive publicity, number one.

3                 Number two, in the Aguilar decision, you couldn't

4     get any more -- any better publicity for Judge Aguilar.

5     Judge Aguilar knew there was an FBI investigation going on

6     and he knew there was a grand jury.          So, I mean --

7                 THE COURT:    No, I know.

8                 MR. FISCHER:    That's completely different.

9                 THE COURT:    That's why I don't understand the

10    result of the case.

11                MR. FISCHER:    And I'd also point out, Your Honor,

12    drawing inferences, that after Mr. Caldwell became aware,

13    when Watkins and Crowl received the phone call to go back to

14    Ohio, and they went back because the FBI wanted to speak

15    with Ms. Watkins, there's absolutely no evidence that

16    Mr. Caldwell took any action to destroy any evidence.

17                So once he became aware, and you would reasonably

18    believe that a grand jury -- at that point, you might be

19    able to foresee a grand jury possibly, nothing was deleted.

20                So I think -- and I'd point out, Your Honor,

21    Mr. Caldwell -- I mean, I know the government -- the

22    government's looking at it from the point of view that they

23    think Mr. Caldwell is guilty and they think this, you know,

24    boat and everything, all the things they were saying that it

25    was part of this massive conspiracy, that's not what
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1     Mr. Caldwell was thinking per his own messages.

2                 And I'd also point out, why would Mr. Caldwell

3     think he was going to be charged since really no similarly

4     situated person who was outside the Capitol and did not

5     engage in violence has not been charged to my knowledge.                So

6     thank you, Your Honor.

7                 THE COURT:    Certainly hadn't been to that point.

8                 Okay.   All right.    Thank you.

9                 All right.    Let's shift gears to talk about the

10    1512(c)(2) conviction.

11                Just to sort of set the stage here, as we all know

12    since the trial concluded, the Circuit issued the decision

13    in U.S. versus Fischer in which the panel splintered about

14    what was required to establish the element of "corruptly."

15                I think it's probably fair to say that, at a

16    minimum, the panel agreed that when obstructive action is

17    independently unlawful, that would satisfy the element of

18    corruptly.    And, of course, I'm also assuming that would

19    mean the person was cognizant of the wrongdoing, but leave

20    that to the side for the moment.

21                You know, since Fischer, the Circuit heard oral

22    argument in U.S. versus Robertson.        That panel certainly

23    doesn't seem to think it is bound by anything that was done

24    in Fischer with respect to the corruption element.

25                And two points about the oral argument.           I'm not
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1     saying you can take anything to the bank about this

2     obviously.    But one is that the government's position in

3     that case was that the corrupt element can be established

4     either by independently unlawful means or if the person's

5     conduct was animated by a corrupt purpose.

6                 And then ultimately, based upon a question that

7     Judge Pillard asked about, well, what's the narrowest ground

8     on which we could affirm here, and the government's position

9     was, well, as long as the conduct is independently

10    felonious, and in that case, the defendant had been charged

11    with other felonies, been convicted of other numbers,

12    including, I think, assaulting a police officer, would be

13    sufficient to establish -- or to meet the elements.

14                So in light of that, I asked the question, you

15    know, what is the conduct here that would satisfy the

16    "corruptly" element in light of the jury's verdicts which

17    absolved Mr. Caldwell of any conspiracy liability and any

18    conspiratorial liability.

19                And maybe I'm framing the question in my own mind

20    incorrectly.    But if we are asking ourselves -- I'm supposed

21    to be asking myself, one, what is the independently unlawful

22    conduct, it seems to me I don't think I can really rely on

23    the conduct of others, because the jury would not have

24    concluded beyond a reasonable doubt that Mr. Caldwell is

25    responsible for the conduct of others.          And, two, if the
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1     independently unlawful conduct is at least -- or no more

2     than, let me put it that way, no more than being on

3     restricted grounds, is that sufficient to meet the element?

4                 And, again, in Robertson, the question wasn't

5     squarely before the Court because there were felony charges

6     there.   It does seem to me that this case arguably does

7     potentially raise the question of whether violation of the

8     restricted grounds statutes could serve as an independent

9     basis.

10                So anyway, those are my thoughts and happy to hear

11    from the government first.

12                MR. NESTLER:    Thank you, Your Honor.

13                We were at the Robertson argument, and so we're

14    aware.

15                THE COURT:    I wasn't but I listened to it.

16                MR. NESTLER:    So -- and with all due respect,

17    Your Honor, we think that Your Honor is coming at this from

18    the wrong perspective.

19                And let me start back with some sort of larger

20    principles, which is, there is binding and longstanding

21    Supreme Court and D.C. Circuit case law that each count of

22    the jury's verdict needs to be evaluated on its own and that

23    the Court cannot and should not, at the Rule 29 stage, look

24    to the meaning of why the jury issued the verdict it did,

25    and cannot and should not look to, well, if the jury
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1     acquitted of a conspiracy charge, then that is not an

2     appropriate position.

3                 THE COURT:    I don't have any disagreement with

4     that, and that's not the perspective I'm taking, it is

5     slightly different, which is that, if an element of the

6     offense is independent, unlawful conduct, it seems to me

7     I cannot conclude, or put it differently, the jury could not

8     have concluded beyond a reasonable doubt that the

9     independent unlawful conduct was any of the charged

10    conspiracies.

11                MR. NESTLER:    We disagree.

12                We think the jury could have concluded that.            The

13    jury could have issued an inconsistent verdict.            And that is

14    what the Supreme Court case law and the D.C. Circuit case

15    law talks about.

16                And there's case law from other Circuits about

17    this topic, where trial judges were trying to divine, well,

18    if the jury acquitted of a conspiracy charge but convicted

19    of a substantive offense or vice versa, what did that mean

20    for the other charge for what they convicted of and what was

21    the factual basis that could have supported that charge in

22    light of the acquittal on the other charge?

23                THE COURT:    So you think the jury could have,

24    or -- well, let me put it differently.

25                You think there was sufficient evidence from which
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1     the jury could have concluded that the independent unlawful

2     conduct was the conspiratorial acts with which he was

3     charged but ultimately acquitted?

4                 MR. NESTLER:    Yes.   Much more, which I'll get into

5     in a minute.

6                 THE COURT:    Okay.

7                 MR. NESTLER:    But, yes, the jury could have

8     reached that conclusion and, drawing all inferences in the

9     government's favor, the jury could have reached that

10    conclusion.

11                THE COURT:    Okay.

12                MR. NESTLER:    And I have some cases from other

13    Circuits, if Your Honor would like, going to this idea that

14    the Court ought not to be looking at trying to divine

15    intent.   So there's a Sixth Circuit case from 1990, it's

16    Clemmer, C-l-e-m-m-e-r, 918 F.2d 570.         And there's a case

17    from the Tenth Circuit in 2012 called Cornelius, 696 F.3d

18    1307.

19                And we cited it in our opposition to the Rule 29

20    briefs, the longstanding cases from Powell and Donovan from

21    the Supreme Court about inconsistent verdicts.            And there's

22    some D.C. Circuit case law on that topic there but not as

23    specific as these other Circuits.

24                Now, with that being said, the position of the

25    government is that independent felonious conduct is
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1     sufficient but not necessary to support corrupt intent.

2                 And my colleague's response to Judge Pillard's

3     question was the narrowest grounds on which the Circuit

4     there could affirm in Robertson.        And there in Robertson,

5     Robertson was charged and convicted with felonies.             So that

6     is a very narrow ground.

7                 THE COURT:    Right.

8                 And to be clear, I wasn't suggesting that that

9     narrow ground was ultimately what the government conceded

10    the element's proof would require.

11                MR. NESTLER:    Sure.

12                We do not believe that a felonious act is required

13    to support an unlawful means.

14                And so if we're thinking about the different ways

15    that the government -- that the jury -- to support the

16    jury's verdict, which that's the perspective we need to come

17    at here on a Rule 29 standard, the different ways that the

18    jury's verdict could be supported.

19                One is that Caldwell himself obstructed the

20    congressional proceeding.      And for Caldwell to do that, he

21    needs to have had a corrupt intent as we talked about, and

22    that corrupt intent can be from his unlawful means or from

23    his improper purpose.

24                And I understand Your Honor's question from the

25    Minute Order and from today is asking what evidence there is
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1     to support unlawful means, and so I'll get to that in a

2     second.   But I wanted to flag for the Court, the jury could

3     have found that Caldwell had improper purpose, and therefore

4     it made his intent corrupt, and therefore he could have

5     directly violated 1512(c)(2).          And so that is a basis to

6     deny the Rule 29 motion and affirm the jury's verdict.

7                 Separately, the Court instructed the jury on

8     aiding and abetting and conspiracy liability to support the

9     1512(c)(2) charge.      Neither of those theories of liability

10    require Caldwell to have had a corrupt intent.

11                So the mens rea requirement for "aiding and

12    abetting" and for "conspiracy" is different than "corrupt."

13    And so the jury need not have found either that he had

14    improper purpose or used unlawful means.

15                And so the jury could have easily found that

16    Caldwell aided and abetted others, and/or that Caldwell

17    conspired with others.      Either of those two things would

18    support the (c)(2) charge.

19                THE COURT:    I'll just ask you on the attempt,

20    I mean, shouldn't that be -- wouldn't the attempt mens rea

21    be identical?

22                I mean, the definition -- or the jury instruction

23    read that, "An attempt to commit obstruction of an official

24    proceeding is a crime, even if the defendant did not

25    actually complete the crime of obstruction of an official
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1     proceeding.    The first element was the defendant intended to

2     commit the crime of obstruction of an official proceeding."

3                 That seems to me that -- I'm not sure of the

4     difference between having the intent and intending to have

5     the intent.

6                 MR. NESTLER:    That's accurate.

7                 So the defendant, to attempt to commit the (c)(2)

8     crime, he needed to have intended to commit the (c)(2)

9     crime --

10                THE COURT:    Right.

11                MR. NESTLER:    -- which would require --

12                THE COURT:    Which would require his mens rea to be

13    corrupt.

14                MR. NESTLER:    Correct, it would require a corrupt

15    mens rea.

16                THE COURT:    But the aiding and abetting would not

17    because all that requires is knowledge that somebody else

18    has the corrupt intent and you're providing an act in

19    further -- an act in furtherance of that.

20                MR. NESTLER:    Correct.

21                And the Circuit's been very clear that, for aiding

22    and abetting, the accomplice need not share the same

23    mens rea as the principal.

24                And, of course, for conspiracy liability, the

25    defendant need not share the mens rea of the other
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1     co-conspirators, so long as the (c)(2) is committed in

2     furtherance of the conspiracy and it was reasonably

3     foreseeable to Caldwell.

4                 So I mention all these because, before we even get

5     into talking about what evidence that's in the record that

6     the jury could have found that Caldwell had that used

7     unlawful means or intended to use unlawful means is actually

8     a more accurate way to put it because that would sweep in

9     the attempt to commit the (c)(2) as well.             There are these

10    other mechanisms by which the jury could have, and

11    we believe the evidence supports, found Caldwell guilty of

12    (c)(2).

13                So if we get into answering now Your Honor's

14    question, I'm sorry for that background but that's how we're

15    setting the stage --

16                THE COURT:    No, no.      That's okay.

17                MR. NESTLER:    -- which is, so Caldwell intended to

18    use unlawful means to support the corrupt intent.               We do

19    believe that those unlawful means could be misdemeanors,

20    they don't need to be felonious, I'm not sure there's a

21    corollary word for a "misdemeanor" but criminal.

22                And so his presence in the restricted area, in

23    violation of 18 U.S.C. 1752, would support using unlawful

24    means to act corruptly.      And Caldwell wasn't just in the

25    restricted area a foot or a yard inside of where the
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1     barricades were, he was well past many layers of barricades,

2     he had climbed many layers of stairs through scaffolding to

3     get on to the inaugural stage, on to the parapet, where he

4     was 30 or 40 feet, as the evidence showed, from the

5     Lower West Terrace front door.

6                 THE COURT:    Realistically, do you think the

7     Circuit would accept that?

8                 I mean, I'm not suggesting there could be no

9     misdemeanor conduct that would suffice.          I mean, say, for

10    example, somebody came into the Capitol and didn't strike a

11    police officer but struck a civilian that was there en route

12    to the Senate floor.      That may be nothing more than a simple

13    assault under D.C. law.

14                But this is, you know, tantamount to a trespass

15    charge under federal law.      I just have a hard time getting

16    my head around the idea that the Circuit would accept a

17    misdemeanor trespass charge as the basis for the independent

18    unlawful conduct.

19                MR. NESTLER:    So there is more of a -- to answer

20    Your Honor's question -- well, two things:              One, yes, we do

21    believe that the Circuit would accept a misdemeanor trespass

22    charge as the independent unlawful basis to support the

23    corrupt intent.

24                The second point of that is that we don't believe

25    that's an appropriation consideration for Your Honor right
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1     now, which is, will the Circuit ultimately accept that as a

2     theory.   That's more our problem than yours.

3                 THE COURT:    Maybe I need to accept it as a theory;

4     we'll see.

5                 MR. NESTLER:    That's a more valid point,

6     Your Honor.

7                 THE COURT:    The two questions may not be all that

8     different, but in any event.

9                 MR. NESTLER:    We do believe that is valid.

10                And we do believe the evidence here is more than

11    just that Caldwell committed what we would call a mere

12    trespass.    In his own words, he grabbed his American flag,

13    said, let's take the damn Capitol, people started surging

14    forward, climbing the scaffolding.        I said, let's storm the

15    place and hang the traitors.

16                He sent messages talking -- with photographs about

17    him and his wife storming, his words, the Capitol.             He

18    didn't even mind the tear gas.

19                There's also support that he either -- that he

20    aided and abetted others in committing destruction of

21    property.

22                THE COURT:    Can we pause for a moment about his

23    own descriptions of his conduct?        I mean, how much weight do

24    I really give to that?

25                In other words, he can describe what he did as
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1     storming and he can describe his having done -- gotten past

2     barricades and the like, but it's pretty evident what he

3     did.   I mean, he did climb over that barrier wall that was

4     at the Lower West Terrace, make his way up to the stage,

5     where he was right in front of the Lower West Tunnel.              But I

6     don't know how much credence to put in some of the things

7     that he said here after the fact that don't really match up

8     with the video evidence.

9                 MR. NESTLER:    Well, two things:       One, at the

10    Rule 29 standard, we believe that the jury -- that there's

11    evidence to support these and that the jury's verdict -- any

12    reasonable juror could have found these facts.

13                Two, at the second trial, Your Honor actually went

14    through one of Caldwell's messages, and he went through line

15    by line each of Caldwell's factual assertions, and

16    Your Honor actually found that I think nine of the ten or

17    some high percentage number of his factual assertions were

18    supported by the record about what he had said he had done

19    and observed were supported by the evidence in the record,

20    and that was the basis for Your Honor actually allowing the

21    government to admit one of Caldwell's statements in the

22    second trial.    So the answer is, Your Honor should give a

23    lot of credence to what Caldwell says he did, especially on

24    the night of January 6th and January 7th before he started

25    trying to hide his own involvement.
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1                 In terms of other unlawful means that Caldwell

2     used or aided and abetted, we do believe that 1361 charge

3     would also be there.      We have what Caldwell said.          He

4     climbed the steps after breaking two rows of barricades, his

5     words.   Then got on the parapet.        "People in front of me

6     broke through the doors, started duking it out with the pigs

7     who broke and ran.      Then we started stealing the cops' riot

8     shields and throwing fire extinguishers through windows."

9                 Again, we're not saying that Caldwell himself had

10    to personally do those things, but he in his own words is

11    aiding and abetting others individuals who are breaking

12    through barricades, climbing up on the parapet, which he did

13    himself, duking it out with pigs, meaning fighting with

14    police officers, stealing riot shields, which we know is

15    going to be a felony offense, and throwing fire

16    extinguishers through windows.         And they're supported, as we

17    just indicated, from the evidence we went into in the second

18    trial and from photos of Caldwell's phone showing these

19    different pieces.

20                And to remind Your Honor, Caldwell wasn't just,

21    again, a mere trespasser.      We introduced the evidence that

22    Caldwell was by the peace fountain sort of earlier in the

23    day.

24                THE COURT:    Right.

25                MR. NESTLER:    And then we introduced that time
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1     lapse video of him getting to the inaugural parapet.              He

2     went through hundreds, if not a thousand people, to push his

3     way through all of those people, up those multiple flights,

4     through the scaffolding, onto the inaugural parapet, just

5     outside of the Lower West Terrace tunnel door.            He's not

6     someone who was standing on the grass.          He actually was on

7     the Capitol itself.      And so we don't believe that he is a

8     mere trespasser, nor should the Court have to get into a

9     definition of what level of trespass someone was doing.

10                And, of course, we don't have video or photographs

11    of every second of Caldwell on the Capitol Grounds.             So we

12    have to be able to draw reasonable inferences about what he

13    actually did while he was there.        His own words that night

14    when he was bragging to others about what he had

15    accomplished, we do believe the Court can credit in order to

16    support the government -- support the government here on the

17    Rule 29 basis.     So those are his actions at the Capitol

18    itself that we believe are independently unlawful.             We do

19    believe that Caldwell's actions with respect to the QRF

20    hotel also support independently unlawful.

21                And before I even get to that, I do want to point

22    out one thing, which is that in case there was some sort of

23    dispute here about independently unlawful and wrongful, they

24    do have sort of distinct meanings on their Supreme Court

25    case law back to Morissette, which I think was cited in some
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1     of the Robertson pleadings.

2                 THE COURT:    Right.

3                 MR. NESTLER:    So Caldwell's actions at the QRF

4     hotel, he did deposit a firearm at that hotel.            In our

5     case-in-chief, that evidence came in that he himself

6     deposited a firearm there.

7                 And we do believe that his coordinating with

8     others to transport firearms to the QRF hotel and then

9     potentially into the District would violate 18 U.S.C.

10    231(a)(2), which is transportation of firearms to be used in

11    furtherance of a civil disorder.

12                That's leaving aside seditious conspiracy or

13    anything else.     We understand that was not charged here, but

14    that is a viable charge where Caldwell himself aided and

15    abetted and conspired with others to commit.            And so

16    depositing those firearms there, and the jury could have

17    reasonably found that Caldwell's depositing of those

18    firearms there supported his independently unlawful means to

19    support his corrupt intent.

20                And then if we can get into improper purpose, it

21    sounds like Your Honor is fine with improper purpose and

22    we're there, but we're talking purely about the means that

23    he used, the coordinating of sort of aquatic transportation

24    across the Potomac to bring the firearms into D.C., and also

25    coordinating others bringing firearms around the country to
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1     the QRF hotel, would also support a 231(a)(2) charge.

2                 THE COURT:     Is there a difference with the

3     improper purpose and the ultimate intent to obstruct?

4                 MR. NESTLER:     I believe that's one of the

5     questions that the Circuit asked my colleague at the

6     Robertson oral argument, and that I think it's in

7     Judge Katsas's dissent in Fischer about sort of the

8     difference between the improper purpose and the purpose with

9     which someone was acting.

10                THE COURT:     And so what's the answer?

11                MR. NESTLER:     I flagged that the question had been

12    flagged previously, Your Honor.

13                We do believe that Caldwell -- that there is

14    sufficient evidence here that Caldwell did act with an

15    improper purpose.       My colleague in front of the -- in the

16    Robertson briefing and at the argument did point out the

17    four general theories about which somebody could have an

18    improper purpose, and we do believe that Caldwell satisfied

19    several of those based on what he intended to achieve with

20    his actions and with his people he aided and abetted and

21    conspired with.

22                THE COURT:     Let me just ask a very practical

23    question and that is:       What would your thoughts be if I were

24    to say, why don't we put Mr. Caldwell's sentencing off until

25    after we hear from the Circuit?        And the reason I suggest
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1     that for him and him alone is he's the only one who's

2     convicted solely of 1512(c)(2).        And if I were to proceed

3     and agree with you and sentence him and it turns out I'm

4     wrong and we could get a decision hopefully in the next

5     couple months before the next term begins, wouldn't it be

6     prudent to do that, to wait to get some further clarity from

7     the Circuit?

8                 The other defendants are differently situated

9     because even if that conviction falls for them, they'd been

10    convicted of other charges that would potentially sustain a

11    sentence.

12                MR. NESTLER:    We would prefer not.

13                We're comfortable having Mr. Caldwell sentenced

14    after Your Honor sentences the other eight defendants who

15    were convicted of conspiracy charges, so sort of changing

16    the order here.

17                We don't believe waiting for the Circuit's

18    decision in Robertson is necessary, or in light of

19    Judge Pillard's question about what's the narrowest grounds,

20    is going to provide much clarity here, and so we don't

21    believe that waiting --

22                THE COURT:    That is my fear.

23                MR. NESTLER:    -- it may not provide the clarity

24    Your Honor wants.

25                From our position, so long as the jury could have
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1     found any basis to sustain the (c)(2) conviction and that is

2     an unlawful means or an improper purpose or aiding and

3     abetting or conspiracy liability for the (c)(2) charge, then

4     Caldwell's Rule 29 motion ought to be denied.

5                 THE COURT:    And is the aiding and abetting, in

6     your view, is that based solely on his statements of his

7     aiding and abetting of unidentified others who were with him

8     on the grounds or aiding and abetting his co-conspirators?

9                 MR. NESTLER:    Both.

10                So he aided and abetted other members of the

11    Oath Keepers in terms of their planning and where they --

12    what they were going to be doing that day and the

13    transportation of the firearms and their violent breach of

14    the building.

15                He aided and abetted other defendants here.

16                He also aided and abetted other unknown principals

17    les that day, who were, in his own words, duking it out with

18    the cops, stealing riot shields, and the like.

19                THE COURT:    In other words, your position is or

20    could be or you would say that he could have been convicted

21    or he could be convicted of that even though he himself --

22    say hypothetically I were to agree that the evidence didn't

23    show him to be a member of the conspiracy -- but that he

24    aided and abetted the underlying conspiracy?

25                MR. NESTLER:    I think technically he would have
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1     aided and abetted the conspirators, but yes.

2                 THE COURT:    Right.    That's what I mean, the

3     conspirators in furtherance of the conspiracy.

4                 MR. NESTLER:    That is accurate.

5                 And the jury could reasonably have found that.

6                 And talking about the narrowest grounds to issue a

7     ruling, Your Honor could deny the Rule 29 motion just by

8     finding that and not getting into some of the other thornier

9     questions that might be circling around out there about what

10    the Circuit is going to decide in Robertson.

11                Thank you.

12                THE COURT:    Okay.

13                Let me hear from Mr. Fischer.

14                Mr. Fischer, I want to give Bill a couple minutes,

15    and then why don't we resume at 11:30, everyone.

16                Thank you, everyone.

17                COURTROOM DEPUTY:      All rise.

18                This Court stands in recess.

19                (Recess from 11:23 p.m. to 11:35 a.m.)

20                THE COURT:    Okay.    Mr. Fischer.

21                MR. FISCHER:    Thank you, Your Honor, if it pleases

22    the Court.

23                First of all, I believe there was -- the Court's

24    first question was -- or the first concern the Court had was

25    whether the government could rely on conduct of others to
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1     support Mr. Caldwell's 1512 conviction.           I would point

2     out -- I disagree.

3                 First of all, I disagree that you can aid and abet

4     a conspiracy.    Aiding and abetting is a specific-intent

5     crime.   So we have a name for people who aid and abet

6     conspiracies, they're called conspirators or

7     co-conspirators.        So I disagree with the government on that

8     point; I don't believe that's possible.

9                 Secondly, as to aiding and abetting, I'd point out

10    the government still has not pointed out who the principal

11    was that Mr. Caldwell aided and abetted.           I understand that

12    you don't have to identify the specific person's name, but I

13    do think that you have to point somebody out who he actually

14    aided and abetted.

15                The Court pointed out, Mr. Caldwell's, you know,

16    colorful messages as rhetorical flourishes.              The

17    government's own witness, their chief case agent,

18    Agent Palian, the quarterback, I think he called himself, he

19    indicated that you couldn't trust Mr. Caldwell's messages.

20    He said Mr. Caldwell appeared not to be truthful in his

21    messages, I believe the testimony was.

22                And I would point out that based on Mr. Caldwell's

23    messages, the FBI came to the conclusion that Mr. Caldwell

24    was a commander inside the Oath Keepers organization, led a

25    stack into the United States Capitol, was a member of the
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1     Oath Keepers.    And I believe there were some other

2     conclusions they draw -- or drew from that.

3                 And Agent Palian even admitted that basically

4     based on information in the messages, the predication on

5     which the initial investigation was given its blessing

6     proved not to shake out.      The predication of him going into

7     the Capitol and being commander of the Oath Keepers just did

8     not materialize, so they relied on his messages.

9                 The government got burned by his messages.            And,

10    in fact, I remember Ms. Rakoczy spent about an hour with

11    Agent Palian having Agent Palian explain to the jury why the

12    FBI made all of these mistakes and made all of these errors,

13    and Agent Palian said it was basically because Mr. Caldwell

14    wasn't truthful in his messages.        So the Court should give

15    his messages the weight they deserve, which is zero.

16                I'd point out I have on the screen here,

17    Your Honor, this is the government's slide in the

18    government's closing, and the government specifically argued

19    that the attack on the Capitol was an opportunity the

20    defendants seized.

21                So Mr. Caldwell was found not guilty of all the

22    conspiracy counts.      And the government's claim was that he,

23    as one of the defendants, seized the opportunity, in other

24    words, he did not anticipate the breach of the Capitol, did

25    not anticipate what happened, the riot and all that,
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1     everything, all the unfortunate events that happened, and he

2     seized upon that opportunity.

3                 And how did he seize upon it?        Him and his wife

4     sat at the Peace Fountain or stood around or sat around the

5     Peace Fountain for 80 minutes per the testimony or any

6     inferences drawn from the government's case.            We have no

7     idea, no testimony of what happened between when they left

8     the Peace Fountain until they got up basically to the

9     stairs.   There are photographs -- or there's video of them

10    being up on the inaugural stage.

11                I would point out, Your Honor, that the

12    Capitol Grounds are open 99.9 percent of the time.             The area

13    where Mr. Caldwell and his wife walked on the Capitol

14    Grounds are open.

15                THE COURT:    So let me ask you a question about

16    that.

17                I mean, the government takes the view or has said

18    that they think a violation of 1752 could serve as either

19    the independent criminal conduct or the unlawful means or

20    improper means by which the element could be satisfied.

21                You know, look, I have some scepticism that a mere

22    trespass by an individual would probably get there but why

23    not a person who's participating in what is a riot?

24                And, again, I understand what your position is

25    with respect to Mr. Caldwell's knowledge about where he was
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1     and whether he thought he could be there.            But, at a

2     minimum, maybe you would agree that a jury could have

3     concluded that he knew exactly he wasn't supposed to be

4     there.

5                 MR. FISCHER:    Well, I would submit to the Court,

6     first of all, Mr. Caldwell was not in his indictment charged

7     with a separate crime of which the jury could have found

8     beyond a reasonable doubt would constitute an independent

9     unlawful act, because if it's unlawful, it means it's a

10    separate crime.

11                THE COURT:    Well, it doesn't have to be charged.

12    I mean, there's no requirement that the government's

13    charge -- or identify specifically what the unlawful act is.

14    I mean, there's -- I don't think there's any such pleading

15    requirement, and certainly it wasn't requested in the jury

16    instructions but...

17                MR. FISCHER:    But I do believe the Court would

18    have to, as a matter of law, find that there was an

19    independent criminal act that was proven beyond a reasonable

20    doubt -- that there was sufficient evidence.

21                THE COURT:    Right.

22                MR. FISCHER:    And in this case, our Exhibit 80

23    introduced in the government's case clearly showed the

24    walkway.

25                THE COURT:    Exhibit 80?
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1                 MR. FISCHER:    I believe it was Exhibit 80.            It was

2     the walkway at the Peace Fountain.          And we showed the

3     part -- the government showed a portion where there were

4     police and barricades and signs that said "do not enter."

5     Mr. Caldwell arrived.      When he arrived, none of those

6     barricades and the police were gone.

7                 THE COURT:    Right.

8                 But I think those are factual disputes for the

9     jury to resolve ultimately.

10                I mean, I think just my view is, generally

11    speaking, that given what was happening that day and even

12    what Mr. Caldwell described he was witnessing in terms of

13    riot shields getting taken, pepper spray, et cetera, that a

14    reasonable juror could conclude that they knew -- somebody

15    in that situation would have known that they shouldn't have

16    been there --

17                MR. FISCHER:    Understood, Your Honor.

18                THE COURT:    -- or weren't authorized to be there.

19                But is that enough?        I mean, that's the question.

20    Is that enough?

21                MR. FISCHER:    To address the Court's point more

22    specifically, first of all, I believe it was clear that the

23    Circuit Court judges in the case that -- I listened to the

24    oral arguments also in the Roberts case, it appears that the

25    issue is sort of a hot potato that hasn't been specifically
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1     addressed.

2                 I would say to the Court -- I would submit that,

3     first of all, it would need to be a felony because -- the

4     independent act would have to be a felony because otherwise

5     you're taking misdemeanor conduct and turning it into a

6     20-year felony.     So I think on those grounds alone it would

7     have to be a felony.

8                 I would also indicate or submit to the Court that

9     if the Court disagreed with that, at a minimum, I think the

10    crime would have to be malum in se, as opposed to malum

11    prohibitum, because I believe as Judge Kollar-Kotelly had

12    indicated in one of her opinions, and I believe

13    Judge Friedrich had talked about one portion of being

14    corrupt is malign, you have to have a malign intent; that

15    the conduct has to be evil; it has to be more than just

16    something that's malum prohibitum.        So I think if it was

17    malum in se -- or, I'm sorry, if malum in se was the

18    conduct, that would be one thing.        In this case, it's malum

19    prohibitum, it's trespassing, and I think that would be

20    another degree of separation.

21                And, finally --

22                THE COURT:    Your position is a misdemeanor that's

23    nothing more than a general-intent crime would not be

24    enough.

25                MR. FISCHER:    Correct, Your Honor.
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1                 I would also point out that under the Fischer

2     case, the act itself -- and I think this is a distinction as

3     well -- the act itself has to be an obstructive act per se.

4                 So, for example, calling in a bomb threat during a

5     certification, that would clearly be an independent crime

6     and it would be independently per se an obstructive act.

7                 Assaulting police officers inside the Capitol who

8     were guarding the proceeding knowing that that could full

9     well cause security issues, that would be an act in many

10    circumstances where per se it would be obstructive in

11    nature.

12                Simply crossing a barrier onto Capitol Grounds is

13    not itself an obstructive act per se.         And in this case, it

14    was followed up with Mr. Caldwell doing nothing but

15    saying -- basically chanting "U.S.A." a few times and then

16    exiting the stage.

17                So I think Your Honor could draw a line as a

18    felony.    And if the Court disagreed with that, it would have

19    to be something more than a malum prohibitum offense such as

20    trespassing.

21                Your Honor, I would also point out the government

22    keeps bringing up the QRF.      That was basically almost the

23    entire case against Mr. Caldwell was the QRF, and the jury

24    said no.

25                And so to use things regarding the QRF to come to
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1     a conclusion about his conduct after the government says

2     that he did not anticipate -- they basically admit he did

3     not anticipate what was going on at the Capitol.             It's an

4     opportunity that was seized.       So I think the government has

5     to consider his behavior at that point, from the Peace

6     Fountain on up to what he did, and nothing that he did,

7     I believe, would show a corrupt intent whatsoever.

8                 There were obviously other people that were

9     already in front of him.      And he did nothing -- the videos

10    also showed -- as far as aiding and abetting, the video

11    showed no communication between Mr. Caldwell and anybody

12    else.   It was only him and his wife.        So they have no

13    evidence that he communicated with another human being while

14    he was on the Capitol Grounds besides his wife, and that

15    communication was basically let's go, let's go, let's get

16    out of here.

17                I'd also point out, Your Honor, the barrier.

18    I think the Court referenced he had climbed over -- there

19    was, like, a little wall, a retaining wall, but that

20    actually was on his way off the Capitol Grounds, that was

21    not on the way up to the Capitol Grounds.

22                THE COURT:    I assume -- well, anyway.        I just

23    assumed that since he had to go over it on the way out, he

24    would have had to go over it on the way up, but maybe not, I

25    don't know.
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1                 MR. FISCHER:    And, of course, Congress, I mean,

2     was -- the event that caused the certification to stop was

3     the ordered evacuation which was obviously caused by rioters

4     that Mr. Caldwell had no connection with.

5                 So he has no connection, he's not the cause of the

6     certification stopping, he's not on Capitol Grounds when

7     it's evacuated.     The government's presented no evidence that

8     he was on the grounds when, I believe, the House recessed at

9     2:29.   So he's not on the grounds, they can't put him on the

10    grounds at that point.      So at the time that the proceeding

11    is evacuated and recessed, he's not even on Capitol Grounds,

12    he's provably committed absolutely no crime at that point.

13                And then, of course, how is his intent to obstruct

14    when Congress isn't even in the building?           And his wife

15    indicated -- I remember she said something, it was a crude

16    remark, but she had indicated Congress had left on that

17    video and Mr. Caldwell was right by her when she made that

18    comment.

19                So they were obviously aware that Congress had

20    already left the building.      So how are you trying to

21    obstruct a proceeding that's been evacuated, not even there,

22    and not proceeding?      So I think the intent -- what basically

23    his intent was, to have his voice heard.

24                And, again, I would emphasize, Your Honor, that --

25                THE COURT:    Can I -- I'm sorry, Mr. Fischer,
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1     finish your thought.

2                 MR. FISCHER:    I lost my thought, so I'll defer to

3     the Court.

4                 THE COURT:    That's my fault, I guess.

5                 Go back to your point that you think there can be

6     no aiding and abetting of a conspiracy.          I guess I don't

7     know why that's the case.

8                 I mean, you know, a conspiracy requires a

9     different level of intent, which is to join knowing what the

10    purpose of the unlawful conduct is.

11                Aiding and abetting doesn't require that level of

12    mens rea, it simply requires somebody to know that somebody

13    else is going to commit a crime and then assisting that

14    person in a substantial way.

15                So if there's sufficient evidence to conclude that

16    part of the 1512(c)(2) conspiracy that the jury found some

17    others guilty of was to have the QRF in place, or even the

18    seditious conspiracy, for that matter, was to have the QRF

19    in place for the potential to use it in case they felt it

20    was necessary to do so, and he has some understanding of

21    that, why isn't that enough to convict him of the

22    substantive count on an aiding-and-abetting theory?

23                MR. FISCHER:    Your Honor, first of all, I believe,

24    of course, the Pinkerton liability was presented to the

25    jury.
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1                 THE COURT:    This isn't Pinkerton.          This is aiding

2     and abetting.

3                 MR. FISCHER:    Well, it would seem to me if you are

4     aiding and abetting a conspiracy, you've joined the

5     conspiracy.    I'm not sure how you could not join this

6     conspiracy, because you would have to have -- you would have

7     to have knowledge of what the conspirators are doing.               So if

8     you're aiding and abetting the conspiracy, you have the --

9     it's a specific-intent crime and, therefore, you are joining

10    that conspiracy.

11                Now, if you aided and abetted one particular

12    person who's in a conspiracy but you didn't realize there

13    was a conspiracy going on, then you're not aiding and

14    abetting the conspiracy.

15                But I would think, my understanding is, is that

16    because aiding and abetting's specific intent, you can't

17    just -- you can't choose I'll only aid and abet the

18    conspiracy.    You either join it or you don't.           And if you

19    help out a conspiracy knowing it's a conspiracy, you're a

20    co-conspirator.

21                And if the government has case law to the

22    contrary, I would like to see.         I've never heard of that

23    charge.   If it's there, I would be surprised.

24                THE COURT:    Okay.

25                MR. FISCHER:    Do you have any other questions,
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1     Your Honor?

2                 THE COURT:    I don't.     Thank you, Mr. Fischer.

3                 MR. FISCHER:    Thank you, Your Honor.

4                 THE COURT:    Mr. Nestler, any rebuttal?

5                 MR. NESTLER:    We think Your Honor is correct;

6     Mr. Caldwell could have aided and abetted and the jury could

7     have found that he aided and abetted other conspirators,

8     other members of the conspiracy who were convicted here, and

9     that is sufficient and all Your Honor needs to find in order

10    to deny Caldwell's Rule 29 motion.

11                I will say here Mr. Fischer is wrong on a couple

12    of points.    Caldwell did communicate with others while on

13    the Capitol Grounds.      We introduced into evidence his

14    extensive Facebook messages with Godbold and Godbold and

15    Grimes about what he was doing, participating in while he

16    was on the Capitol Grounds.        He was trying to communicate

17    with Watkins while he was there.

18                THE COURT:    Right.

19                MR. NESTLER:    If we want to look at Caldwell's

20    intent, all we have to look at, Mr. Fischer calls it his

21    wife's colorful language.      Caldwell and his wife got all the

22    way up into the parapet, passed hundreds, if not a thousand

23    of people in front of them, pushed everyone else out of the

24    way, got there onto the parapet, and screamed about what

25    they wanted to accomplish, which is their presence, their
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1     actions were going to drive Congress from the building

2     because Congress was scared of them.         That was the words

3     they were using, and that's what they wanted to accomplish.

4                 Without getting into the malum in se and malum

5     prohibitum, this offense here was evil unto itself, it was

6     wrongful unto itself.      This is not an offense where it was a

7     strict liability offense.      The trespassing, if that's what

8     Mr. Fischer wants to call it here, was evil.

9                 What Caldwell did was join a riot, and as part of

10    joining that riot, and the evidence is clear and certainly

11    drawing all reasonable inferences in our favor, that the

12    jury could have found that Caldwell intended to act

13    corruptly by what he was doing.        And that's all Your Honor

14    needs to find in order to deny the Rule 29 motion on this

15    basis.

16                THE COURT:    I guess my concern with that view is

17    what it means in terms of First Amendment concerns.             And he

18    can use the colorful language he wishes to have and we can

19    consider it evil or not, I suppose, but -- anyway, it's a

20    consideration, it seems to me, and I think it would be for

21    the Circuit, so...

22                MR. NESTLER:    We believe that his First Amendment

23    concerns, and we addressed this in some of the motions to

24    dismiss we went on about earlier, are gone.             By the time

25    that he is on top of the inaugural parapet, again, we're not
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1     talking about somebody who trespassed by standing on the

2     grass at the back of the crowd.        He's at the front of the

3     crowd.

4                 So by the time he got to where he is and he made

5     his intent clear about why he was there and what he wanted

6     to do and what he wanted his presence and the presence of

7     the people around him to do, which was to drive Congress out

8     of the building because Congress was scared of Caldwell and

9     the people that Caldwell was with, people that he was aiding

10    and abetting.

11                THE COURT:    Okay.

12                MR. NESTLER:    His statements there are not

13    First Amendment protected, they're actually evidence of what

14    his intent was.

15                And just as Ms. Rakoczy points out, we're not

16    saying and Your Honor doesn't need to find that every

17    trespass would support a corrupt intent.          Our point here is

18    the jury could have reasonably found that Caldwell's

19    trespass met the elements to support his corrupt intent

20    here --

21                THE COURT:    Okay.

22                MR. NESTLER:    -- in addition to all the other

23    factors we already talked about.

24                THE COURT:    Right.   Thank you.

25                MR. FISCHER:    Just a couple points, Your Honor.
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1                 Respectfully, Your Honor, I disagree with

2     Mr. Nestler.    There was no evidence that Mr. Caldwell

3     "pushed everyone out of the way."          There's no evidence of

4     that.

5                 The government claims that Mr. Caldwell drove

6     Congress out of the building.          Congress was evacuated and

7     Mr. Caldwell is at the Peace Fountain with his wife.                He

8     didn't cause Congress to be evacuated.

9                 He's not at the front of the crowd.            In fact, the

10    government's own exhibit showed there was a huge crowd that

11    was behind a police line, and at some point the police line

12    broke or disbanded or went up to a higher ground, and he was

13    at the back of that.      So it's not like he's leading a charge

14    up Capitol Hill like -- I would point out Mr. Caldwell sort

15    of suggested in one of his rhetorical flourishes about

16    picking up his flag and taking the Capitol.               That obviously

17    didn't happen.

18                There's closed-circuit TV that was all over

19    Capitol Hill.    I think the government -- if we're talking

20    about inferences, the government wants to take an

21    inference -- every inference goes towards Caldwell's guilt.

22    But one inference is the Capitol Hill was saturated with

23    video and there were cell phone video, yet, we don't have

24    any video that the government presented showing Mr. Caldwell

25    doing any of those things.      So, Your Honor, we ask you to
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1     grant the motion.       Thank you.

2                 THE COURT:     Thank you.

3                 Okay.    So taking the most narrow possible

4     approach, I'm going to vacate Mr. Caldwell's sentencing on

5     Wednesday.    There's a lot to think about and I have a lot to

6     do between now and then.

7                 Insofar as whether I wait until after the Circuit

8     rules, let me just think about whether that makes sense or

9     not and I'll get back to everybody.

10                But this has been very helpful.          I obviously

11    wanted to give this a great deal of thought before I made

12    any decisions.      And if there's any additional case law you

13    all want to submit, you know, obviously feel free to do that

14    as well, okay?

15                All right.     Anything else?

16                MR. EDWARDS:     Your Honor, I saw Mr. Shipley on

17    earlier but I don't see him on here now.           I just wanted to

18    confirm.

19                COURTROOM DEPUTY:     He's no longer on.

20                MR. EDWARDS:     Okay.

21                Well, I'll flag for the Court, I'll let

22    Mr. Shipley know.       We saw the email exchanges for

23    Wednesday's omnibus hearing, including former Lieutenant

24    T.K. Johnson.

25                We've been in touch with Mr. Johnson's attorney.
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1     Mr. Johnson, according to his attorney, has not received the

2     subpoena and does not intend to be here on Wednesday.              So

3     we're happy to speak with Mr. Shipley to figure out if he

4     has different information, but we thought we'd flag it for

5     the Court for scheduling purposes, because I know other

6     defendants, according to Mr. Shipley, are apparently relying

7     on Mr. Johnson being there.

8                 THE COURT:    Okay.

9                 MR. EDWARDS:    Oh, can we confirm Wednesday's

10    schedule as well?

11                In the morning at the omnibus hearing, just for

12    purposes of us making sure that people are here at what

13    certain times, does the Court anticipate having victims come

14    in and provide statements before we get into the law?

15                THE COURT:    So I was going to issue something

16    today.

17                But the short answer is yes, the victim impact

18    statements I'd like to do at the very beginning.             Those

19    folks can be here and we can -- they can -- and then they'll

20    be done so they're not waiting for us to deal with the other

21    matters.

22                MR. EDWARDS:    Understood.     Thank you.

23                THE COURT:    We'll get an order out this afternoon

24    just with an order of operations, all right?

25                Thanks, everybody.     Please do not wait for me.
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1                 COURTROOM DEPUTY:     This Court stands in recess.

2                 (Proceedings concluded at 11:57 a.m.)

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                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.




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                                    William P. Zaremba, RMR, CRR
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